       Case 15-00614    Doc 52   Filed 11/02/15 Entered 11/02/15 10:14:25   Desc Main
                                  Document     Page 1 of 19




                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IN RE:                                           )
                                                 )     Case No. 13-33965
BARSANTI WOODWORK                                )     Chapter 7
CORPORATION,                                     )     Hon. Pamela S. Hollis
                                                 )
        Debtor.                                  )
__________________________________________)
                                                 )
EUGENE CRANE, not individually, but solely )
in his capacity as Chapter 7 Trustee for the Estate)
of BARSANTI WOODWORK CORPORATION,)
Debtor,                                          )     Adv. No. 15-00614
                                                 )
               Plaintiff,                        )
                                                 )
        v.                                       )
                                                 )
PAUL KELLY, individually and as Trustee of )
THE K FAMILY TRUST, ROBERT GEREG,                )
individually, and d/b/a CAPITAL RESOURCE )
ASSOCIATES and FORCE 5 HOLDINGS,                 )
INC., an administratively dissolved Florida      )
corporation, BWC CAPITAL, LLC, an                )
Indiana limited liability company, BARSANTI )
MILLWORK, LLC, an Indiana limited liability )
company, FREEBORN & PETERS, LLP, an              )
Illinois limited liability partnership, EDWARD )
L. FILER, and THE K FAMILY TRUST,                )
                                                 )
               Defendants.                       )


                                   NOTICE OF MOTION

PLEASE TAKE NOTICE that on November 10, 2015, at 10:00 a.m., or as soon thereafter
as counsel may be heard before Honorable Judge Pamela S. Hollis in Courtroom 644, in
the United States Bankruptcy Court for the Northern District of Illinois, 219 South
Dearborn, Chicago, Illinois, and then and therewith present ROBERT GEREG, BWC
CAPITAL, LLC, AND BARSANTI MILLWORK, LLC’S MOTION TO DISMISS THE
TRUSTEE’S ADVERSARY COMPLAINT, a copy of which is attached hereto.
	  

                                                       Respectfully submitted,
                                                       s/Vivek Jayaram

                                             1	  
	  
       Case 15-00614   Doc 52   Filed 11/02/15 Entered 11/02/15 10:14:25   Desc Main
                                 Document     Page 2 of 19




Vivek Jayaram
Jayaram Law Group, Ltd.
33 North LaSalle Street
29 Floor
       th



Chicago, IL 60602
(312) 454-2859
                                             	  




                                            2	  
	  
       Case 15-00614    Doc 52   Filed 11/02/15 Entered 11/02/15 10:14:25     Desc Main
                                  Document     Page 3 of 19


                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IN RE:                                           )
                                                 )      Case No. 13-33965
BARSANTI WOODWORK                                )      Chapter 7
CORPORATION,                                     )      Hon. Pamela S. Hollis
                                                 )
        Debtor.                                  )
__________________________________________)
                                                 )
EUGENE CRANE, not individually, but solely )
in his capacity as Chapter 7 Trustee for the Estate)
of BARSANTI WOODWORK CORPORATION,)
Debtor,                                          )      Adv. No. 15-00614
                                                 )
               Plaintiff,                        )
                                                 )
        v.                                       )
                                                 )
PAUL KELLY, individually and as Trustee of )
THE K FAMILY TRUST, ROBERT GEREG,                )
individually, and d/b/a CAPITAL RESOURCE )
ASSOCIATES and FORCE 5 HOLDINGS,                 )
INC., an administratively dissolved Florida      )
corporation, BWC CAPITAL, LLC, an                )
Indiana limited liability company, BARSANTI )
MILLWORK, LLC, an Indiana limited liability )
company, FREEBORN & PETERS, LLP, an              )
Illinois limited liability partnership, EDWARD )
L. FILER, and THE K FAMILY TRUST,                )
                                                 )
               Defendants.                       )

       ROBERT GEREG, BWC CAPITAL, LLC, AND BARSANTI MILLWORK, LLC’S
          MOTION TO DISMISS THE TRUSTEE’S ADVERSARY COMPLAINT

           Pursuant to Bankruptcy Rule 7012(b)(6) and Federal Rule of Civil Procedure

12(b)(6), Robert Gereg, BWC Capital, LLC (“BWC”), and Barsanti Millwork, LLC

(“Barsanti”) move for entry of an order dismissing Counts I, II, III, IV, V, VI, X, XI, XV,




                                             3	  
	  
                Case 15-00614                                                                                                                                                Doc 52                                                                 Filed 11/02/15 Entered 11/02/15 10:14:25   Desc Main
                                                                                                                                                                                                                                                     Document     Page 4 of 19


XVI, IX, X, XXI, and XXII of Eugene Crane’s (the “Trustee”) Adversary Complaint, and

in support states as follows :                                                                                                                                                                                                               1




                                                                                                                                                                                                                                                          I. Introduction

                                                           The Trustee has brought a twenty-two-Count Complaint containing a staggering

368 paragraphs against a litany of defendants. The Trustee makes broad and sweeping

allegations that Mr. Gereg, BWC, Barsanti, and Paul Kelly (along with their attorneys at

Freeborn and Peters) somehow engaged in an elaborate scheme to “defraud” creditors.

                                                           This kitchen sink approach, however, is patently insufficient as a matter of law

and ultimately exposes the weakness of the Trustee’s claims against these defendants.

Indeed, the Complaint is poorly pled and fails to state a cause of action against Mr.

Gereg, BWC, or Barsanti. Specifically, (1) Counts I-VI should be dismissed because the                                                                                                                                      2




assets at issue are subject to a valid security interest; (2) Counts I-VI Are Barred By Res

Judicata; (3) Counts X-XI should be dismissed because the Complaint fails to allege facts

establishing any of the elements of breach of fiduciary duty in Illinois; (4) Counts XV-

XVI should be dismissed because there can be no conspiracy to commit fraud where

there are no allegations of fraudulent conduct; (5) Count XVI should be dismissed

because there can be no aiding and abetting a fraudulent transfer where there is no

fraudulent transfer; and (6) Counts XIX and XX should be dismissed because an

injunction is a remedy and not a cause of action; (7) Counts XXI and XXII should be

dismissed because the Complaint’s facts fail to sufficiently demonstrate that Mr. Gereg,

BWC, or Barsanti engaged in fraud.


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1
 Mr. Crane has brought this Adversary Complaint solely in his capacity as Trustee for the Estate of
Barsanti Woodwork, LLC (the “Debtor”).
2
 Barsanti has not moved to dismiss Count XVIII for Successor Liability. Rather, in an effort to promote
efficient litigation practices Barsanti has separately sought an extension of time to answer that claim
pending the Court’s ruling on this motion.

                                                                                                                                                                                                                                                                4	  
	  
       Case 15-00614    Doc 52     Filed 11/02/15 Entered 11/02/15 10:14:25        Desc Main
                                    Document     Page 5 of 19


                                        II. Legal Standard

           Rule 12(b)(6) and its bankruptcy analogue Rule 7012, permit a motion to dismiss

a complaint for failure to state a claim upon which relief can be granted. See, e.g., In re

Lopresti, 397 B.R. 62 (N.D. Ill. 2008). The purpose of a Rule 12(b)(6) motion is to test the

sufficiency of the complaint, not to decide the merits. In determining the propriety of

dismissal, a court must accept the allegations of the complaint as true, and draw all

reasonable inferences in a light most favorable to the plaintiff. Brown v. Budz, 398 F.3d

904, 907-08 (7th Cir. 2005). A complaint is not required to contain detailed factual

allegations, but it is not enough merely that there might be some conceivable set of facts

that entitles the plaintiff to relief. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S.Ct.

1955, 1964-65, 167 L. Ed. 2d 929 (2007). “In reviewing the sufficiency of a complaint

under the plausibility standard, [courts must] accept the well-pleaded facts in the

complaint as true, but [they] ‘need not accept as true legal conclusions, or threadbare

recitals of the elements of a cause of action, supported by mere conclusory statements.’”

Alam v. Miller Brewing Co., 709 F.3d 662, 665-66 (7th Cir. 2013) (quoting Brooks v. Ross,

578 F.3d 574, 581 (7th Cir. 2009)).

           Critically, Rule 9(b) requires a party alleging fraud to “state with particularity the

circumstances constituting fraud.” Fed. R. Civ. P. 9(b). This task “ordinarily requires

describing the 'who, what, when, where, and how' of the fraud, although the exact level

of particularity that is required will necessarily differ based on the facts of the case.”

AnchorBank, FSB v. Hofer, 649 F.3d 610, 615 (7th Cir. 2011) (citing Pirelli Armstrong Tire

Corp. Retiree Med. Benefits Trust v. Walgreen Co., 631 F.3d 436, 441-42 (7th Cir. 2011)); see

also Camasta v. Jos. A. Bank Clothiers, Inc., 761 F.3d 732, 737 (7th Cir. 2014).




                                                 5	  
	  
       Case 15-00614    Doc 52    Filed 11/02/15 Entered 11/02/15 10:14:25       Desc Main
                                   Document     Page 6 of 19


                                         III. Argument

           A. Counts I-VI Should be Dismissed Because the Assets at Issue Are Subject
              to a Valid Security Interest.


           The Debtor entered into a loan agreement (the “Loan”) with Harris Bank (the

“Bank”) in 2007. See Compl. at ¶17. See Exhibit A. The loan was secured pursuant to a

Commercial Security Agreement. Id. at ¶26. See Exhibit B. The Bank held a perfected

first priority security interest in “all property, assets, rights, and interests of the

Debtor.” Id. at ¶¶26-27. The Debtor defaulted on the Loan and the Bank filed lawsuits

against the Debtor for breach of contract and replevin. Id. at ¶¶28-31. The Debtor

retained Mr. Gereg as a consultant to advise them on a workout strategy. Id. at ¶¶34-35.

Upon his retention, Mr. Gereg began negotiating a potential resolution of the Loan and

lawsuits with the Bank.        Id. at ¶39. On April 4, 2013, Mr. Gereg formed BWC. Id. at

¶¶42-43. On April 5, 2013, the Bank assigned all right, title, and interest in the Loan to

BWC in exchange for $575,000. Id. at ¶¶58-60. See Exhibit C. On May 6, 2013, the Bank

dismissed both lawsuits after all the formalities related to the assignment to BWC were

properly effectuated. Id. at ¶¶71-75.

           Despite alleging these facts, the Trustee contends that Mr. Gereg, BWC, and

Barsanti are all responsible for fraudulently transferring the Debtor’s assets to BWC.

Unfortunately for the Trustee, the Debtor's assets cannot be avoided as a fraudulent

transfer claim under the Uniform Fraudulent Transfer Act (“UFTA”) because at the time

of the transfer, the Debtor's assets were fully encumbered by the Bank’s all-asset lien.

           Rafool v. Propack Sys., LLC (In re Fleming Packaging Corp.), 2007 Bankr. LEXIS 1047

(N.D. Ill. 2007) and Richardson v. Huntington Nat’l Bank (In re CyberCo Holdings, Inc.), 382

B.R. 118 (W.D. Mich. 2014), are instructive. In Rafool, a trustee sought to avoid a third

party’s purchase of a certain debtor’s assets as fraudulent under the Uniform

                                                6	  
	  
       Case 15-00614    Doc 52    Filed 11/02/15 Entered 11/02/15 10:14:25       Desc Main
                                   Document     Page 7 of 19


Fraudulent Transfer Act (“UFTA”). It was undisputed that the assets were encumbered

by a valid Bank One lien at the time the assets were transferred to the third party. The

third party pointed out that the UFTA’s definition of “asset” is “property of the debtor”

but excludes “property to the extent it is encumbered by a valid lien.” See 740 ILCS

160/2(b)(1). The bankruptcy court noted that the Official Comments to the Uniform

Fraudulent Transfer Act explain that by excluding from the term “asset” an interest that

is beyond reach by unsecured creditors because subject to a valid lien, it is the intent of

the Act to provide remedies for unsecured creditors against transfers that impede them

in the collection of their claims. See Rafool at *24. Because there was no dispute that

Bank One had a valid lien on the assets at the time they were transferred to the third

party, the trustee’s claim for fraudulent transfer failed as a matter of law.

           In Huntington, the trustee’s amended complaint alleged hat transfers by the

debtor to Huntington Bank were recoverable as fraudulent under Michigan’s

fraudulent conveyance laws. The trustee sought to recover all transfers by the debtor to

Huntington Bank over the period of several years. The trustee contended that these

transfers may have been as much as $ 23,657,098.33. In granting Huntington Bank’s

motion to dismiss pursuant to 7012(b)(6), the court held that the transfer of assets from

a debtor to a secured party is not “property” under the fraudulent transfer statutes. See

Huntington, 382 B.R. 118 at 142 (“[t]herefore, the UFTA incorporates the same concept as

Section 548: a debtor can fraudulently transfer to another only that which the debtor

actually owns. The UFTA just expresses the concept in a different way.”).

           Here, the Trustee’s Complaint makes clear that all of the Bank’s security interests

in the debtor’s property were assigned to BWC. See Compl. at ¶¶58-60. In other words,

BWC acquired the Bank’s secured position over the debtor’s assets. In doing so, the

Debtor extinguished its obligations to the Bank, and instead owed those same

                                                7	  
	  
       Case 15-00614    Doc 52     Filed 11/02/15 Entered 11/02/15 10:14:25     Desc Main
                                    Document     Page 8 of 19


obligations to BWC. Accordingly, the assets that form the basis for the Trustee’s

fraudulent transfer claims were never assets of the debtor to begin with – they belonged

to the Bank and then to BWC pursuant to the liens and assignments that took place.

Thus, there is no way that Mr. Gereg, BWC, or Barsanti could have been responsible for

any fraudulent transfer because the assets are not “property” under applicable law.

           B. Counts I-VI Are Barred By Res Judicata.

           The doctrine of “[r]es judicata bars not only those issues actually decided in the

prior suit, but all other issues which could have been brought.” Aaron v. Mahl, 550 F.3d

659, 664 (7th Cir. 2008). The principle underlying res judicata—or claim preclusion—is

to minimize “the expense and vexation attending multiple lawsuits, conserve[] judicial

resources, and foster[] reliance on judicial action by minimizing the possibility of

inconsistent decisions.” Montana v. United States, 440 U.S. 147, 153-54, 99 S. Ct. 970, 59 L.

Ed. 2d 210 (1979). Res judicata has three elements: “(1) an identity of the parties or their

privies; (2) [an] identity of the cause of action; and (3) a final judgment on the merits.”

Alvear-Velez v. Mukasey, 540 F.3d 672, 677 (7th Cir. 2008).         Res Judicata should be

applied to bar the instant fraudulent transfer claims because those claims could have

been litigated in the 2013 supplementary proceedings between the Debtor and BWC.

           i.    The Identity of the Parties

           The Trustee’s Complaint makes clear that the Debtor and BWC were engaged in

supplementary proceedings in 2013 in which all parties were represented by counsel.

See Compl. at ¶¶29-33. The turnover action followed Illinois' procedure regarding

supplementary proceedings. See Rule 69(a) F.R.Civ.P.; see also Resolution Trust Corp. v.

Ruggiero, 994 F.2d 1221, 1226 (7th Cir. 1993). In the supplementary proceeding, Judge

White ordered the Debtor to turnover the assets in question to BWC. See Compl. at ¶122

(Exhibit M). If Debtor failed to turnover the assets to BWC it risked being held in

                                                8	  
	  
       Case 15-00614    Doc 52    Filed 11/02/15 Entered 11/02/15 10:14:25    Desc Main
                                   Document     Page 9 of 19


contempt of the Circuit Court. In any event, there is no question that the parties to the

supplementary proceeding were the same as the parties to the Trustee’s instant

fraudulent transfer claims.

           ii.    The Identity of the Causes of Action

           The second element—whether an “identity of the cause of action” exists—

depends on whether the claims arise out of the same set of operative facts or the same

transaction. In re Energy Coop., Inc., 814 F.2d 1226, 1230 (7th Cir. 1987). This

“transactional” inquiry focuses on whether the claims comprise the same “core of

operative facts [that] give rise to a remedy.” Id. In the prior action, BWC brought a

motion for turnover arising out of BWC’s security interest in all of the Debtor’s assets.

At that time, the Debtor could have raised a defense that BWC’s security interest was

procured by fraud (or any other defense, based in fraud or otherwise). But it didn't.

Rather, BWC obtained a turnover of all of the assets of the Debtor after Judge White

heard arguments on the motion by counsel representing both parties.

           Moreover, it is not unusual for a judge to entertain issues regarding fraudulent

transfers in a supplementary proceeding. In Resolution Trust Corp. v. Ruggiero, 994 F.2d

1221 (7 Cir. 1993), for example, the debtor in a supplementary proceeding claimed that
           th




the real estate he formerly owned had been entirely transferred to his wife. After

examining the value of the property, the timing of the transfer, the wife's lack of

involvement with the property, the debtor's role in managing the property, and the

wife's lack of income or professional abilities that could be exchanged for the property,

the Seventh Circuit concluded, "The record… established that Angelo Ruggiero had

placed title to his properties in his wife's name in order to insulate himself from his

creditors.” Id. at 1227.



                                                  9	  
	  
       Case 15-00614   Doc 52    Filed 11/02/15 Entered 11/02/15 10:14:25      Desc Main
                                 Document      Page 10 of 19


           Illinois precedents have also used supplementary proceedings to examine the

allegedly fraudulent nature of certain transfers. In Alan Drey Co., Inc. v. Generation, Inc.,

22 Ill. App. 3d 611, 317 N.E.2d 673 (Ill.App. 1st Dist 1974), the court affirmed a creditor's

judgment from a supplementary proceeding which found that a fraudulent transfer had

occurred. The Illinois Appellate Court in Alan stated that “circumstances surrounding

the transfer exemplify various indicia of fraud from which a finding of fraudulent intent

may be inferred.” 317 N.E.2d at 679. Moreover, the court also examined whether the

transferee was a participant in the fraud rather than a bona fide purchaser. Id. at 680. In

Meggison v. Stevens, 21 Ill. App. 3d 505, 316 N.E.2d 297 (Ill.App. 1st Dist. 1974), the trial

court also used a supplementary proceeding to determine if a conveyance was a

fraudulent transfer. After examining the circumstances of the conveyance, trial court

held that the defendants had engaged in a fraudulent transfer with the intention of

defrauding the plaintiff creditor. See 316 N.E.2d at 299. While the appellate court

reversed on the basis that defendants should have been allowed to present additional

evidence at the supplementary proceeding, the appellate court did not even question

that the supplementary proceeding was an appropriate vehicle to examine whether the

conveyance had been fraudulent.

           Because the Meggison, Alan, and Ruggiero decisions clearly establish that the

Debtor could have fully litigated its fraudulent transfer theories in the supplementary

proceeding, there was identity of causes of action between the turnover action and the

present case.

           ii.   Final Judgment on the Merits

           There can be no dispute that the Circuit Court in this case entered a final

judgment of turnover as reflected by Exhibit A after reviewing BWC’s motion and



                                                10	  
	  
       Case 15-00614    Doc 52     Filed 11/02/15 Entered 11/02/15 10:14:25        Desc Main
                                   Document      Page 11 of 19


hearing argument in open court.            Thus, this Court should find that the Trustee’s

Complaint is barred by the doctrine of res judicata.

           C. Counts X-XI Should be Dismissed Because the Complaint Fails to Allege
              Facts Establishing Any Of The Elements of Breach of Fiduciary Duty
              Under Illinois Law.

           In order to state a claim for breach of fiduciary duty under Illinois law, a plaintiff

must allege that (1) a fiduciary duty exists; (2) the fiduciary duty was breached; and (3)

such breach proximately caused the injury of which the plaintiff complains. See, e.g.,

Neade v. Portes, 193 Ill. 2d 433, 444 (2000). When determining whether a fiduciary

relationship exists, courts look at factors including the degree of kinship between the

parties, the disparity in age, health, education, or business experience between the

parties, and the extent to which the servient party entrusted the handling of its business

to the dominant party and placed its trust and confidence in it. Benson v. Stafford, 407

Ill. App. 3d 902, 913 (1st Dist. 2010). (citing Ransom v. A.B. Dick Co., 289 Ill. App. 3d 663,

674 (1997)). “Generally, where parties capable of handling their business affairs deal

with each other at arm’s length, and there is no evidence that the alleged fiduciary

agreed to exercise its judgment on behalf of the alleged servient party, no fiduciary

relationship will be deemed to exist. Id. (citing State Security Insurance Co. v. Frank

B.Hall & Co., 258 Ill. App. 3d 588, 597-98 (1st Dist. 1994)). “The mere fact that the parties

have engaged in business transactions … is not itself sufficient to establish a fiduciary

relationship. Id. at 914. The “essence” of a fiduciary relationship is dominance of one

party by the other. Id. at 913.

           “Indeed, in the absence of dominance and influence there is no fiduciary

relationship regardless of the levels of trust between the parties.” Id. (citing Lagen v.

Balcor Co., 274 Ill. App. 3d 11, 21 (1995)) (emphasis added).

           i. Mr. Gereg Owes No Fiduciary Duty to the Debtor.

                                                 11	  
	  
       Case 15-00614    Doc 52     Filed 11/02/15 Entered 11/02/15 10:14:25   Desc Main
                                   Document      Page 12 of 19


           The Trustee’s Complaint is completely devoid of any allegations that Mr. Gereg

had dominance, influence, and/or control over the Debtor; thus, he has failed to allege

facts sufficient to establish that Mr. Gereg owed a fiduciary duty to the Debtor. The

Trustee simply states a conclusory allegation that he "trusted" Mr. Gereg to act in the

Debtor’s best interests as to “all matters.” Compl. ¶266. This allegation is insufficient to

support a claim for breach of fiduciary duty as a matter of law. See Pearson v. Garrett-

Evangelical Theol. Seminary, Inc., 790 F. Supp. 2d 759 (N.D. Ill. 2011) (“Here, Pearson

simply states a conclusory allegation that he "entrusted" Garrett to administer his

donated funds and that Garrett occupied a ‘position of trust and confidence with regard

to Mr. Pearson…Nothing in Pearson's conclusory allegations would support a

reasonable inference that Garrett was able to gain ‘superiority and influence’ over

Pearson or that he otherwise owed any fiduciary duties to Pearson as a result of

Pearson's donation.”). See also Chua v. Shippee, 2013 U.S. Dist. LEXIS 128634 (N.D. Ill.

2013) (providing bad professional advice does not made someone a fiduciary).

           ii. Even if There Were a Duty, It Wasn't Breached.

           If this Court somehow concludes that the Trustee’s bare allegations are enough

to support a finding that Mr. Gereg owed a fiduciary obligation to the Debtor, the

fiduciary duty claims still fail because the Complaint fails to allege facts demonstrating

that any such duty was breached. As to that element, the Trustee vaguely alleges in

Count X that Mr. Gereg “betrayed” the Debtor by negotiating the Assignment of Loan

Documents that assigned the loan from the Bank to BWC. See Compl. at ¶¶267-68.

However, the Trustee’s own allegations elsewhere in the pleading make clear that the

Debtor (through its attorneys) “participated in the drafting and negotiating of the Loan

Assigment to BWC Capital while Freeborn was representing the Debtor.” See Compl. at

¶66. In fact, the Trustee alleges that the Debtor paid its attorneys to draft and negotiate

                                                 12	  
	  
                Case 15-00614                                                                                                                                                Doc 52                                                                 Filed 11/02/15 Entered 11/02/15 10:14:25   Desc Main
                                                                                                                                                                                                                                                    Document      Page 13 of 19


the Loan Assignment that it concurrently claims constitutes a breach of Mr. Gereg’s

duty to the Debtor. See Compl. at ¶¶66-67.

                                                           iii.                                                       The Complaint Fails to Allege Proximate Cause

                                                           In a single conclusory allegation, the Trustee alleges that “the Debtor and its

creditors suffered damages which arose as a proximate result of Mr. Gereg’s self-

dealing and breaches of fiduciary duty described herein.” See Compl. at ¶269. This

allegation should not withstand muster under 7012(b). See Doe v. Vill. of Arlington

Heights, 782 F.3d 911 (7 Cir. 2015) (“mere conclusory statements are insufficient to                                                                                                                                      th




survive a motion to dismiss.”).                                                                                                                                                                                                                      3




                                                           Even a loose and generous reading of the Trustee’s Complaint reveals that the

only possible damage it might be alleging as a result of Mr. Gereg’s “conduct” is that

BWC eventually foreclosed on the Debtor’s assets. However, the Complaint also alleges

that the Bank had already instituted proceedings against the Debtor to repossess its

property and for damages prior to BWC’s formation.                                                                                                                                                                                                                              See Compl. ¶¶30-31.   The

reasonable inference is that the Bank’s assignment to BWC gave the Debtor new life and

bought it some time to climb out of distress; that it ended up in default to BWC is

unfortunate, but nothing in the Complaint properly alleges a causal link between Mr.

Gereg’s conduct and any cognizable damage suffered by the Debtor.                                                                                                                                                                                                                              There is no

“but/for” or proximate causation here; the Bank was well on its way to repossess the

Debtor’s property months before BWC was formed. Quite frankly, the Trustee wants

this Court to conclude that Mr. Gereg breached his duty to the Debtor by negotiating

the Loan Assignment with the Bank—the same Loan Assignment in which the Debtor

participated and negotiated in with the assistance of its counsel. See Compl. at ¶¶66-67.
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
3
 Recalling the guidance of Twombly here is also helpful: “Where a complaint pleads facts that are 'merely
consistent with' a defendant's liability, it 'stops short of the line between possibility and plausibility of
entitlement to relief.’” Twombly, 550 U.S. at 557.

                                                                                                                                                                                                                                                                13	  
	  
       Case 15-00614    Doc 52    Filed 11/02/15 Entered 11/02/15 10:14:25        Desc Main
                                  Document      Page 14 of 19


These allegations simply do not establish proximate cause sufficient under the

applicable pleading standards.

           iv.    The Corporate Opportunity Claim Fails Because Mr. Gereg Is Not a Fiduciary

           The corporate opportunity doctrine prohibits a corporation's fiduciary from

misappropriating corporate property and taking advantage of business opportunities

belonging to the corporation. Dremco, Inc. v. South Chapel Hill Gardens, Inc., 274 Ill. App.

3d 534, 538, 654 N.E.2d 501, 504-05, 211 Ill. Dec. 39 (1st Dist.). The core principle is that

a fiduciary will not be permitted to usurp an opportunity that was developed through

the use of corporate assets. Id. The corporate opportunity doctrine prohibits a

corporation's fiduciary from taking advantage of business opportunities that are

considered as “belonging,” as far as the fiduciary is concerned, to the corporation.

Lindenhurst Drugs, Inc. v. Becker, 154 Ill. App. 3d 61, 67, 506 N.E.2d 645, 650, 106 Ill. Dec.

845 (2d Dist. 1987).

           For the reasons set forth in Section C(i) above, Mr. Gereg is not a fiduciary of the

Debtor. As a result, the Trustee cannot maintain a claim based upon the corporate

opportunity doctrine. Id.

           D. Counts XV-XVI should be dismissed because there can be no conspiracy to
              commit fraud where there is no fraud.

           In Illinois, to sustain a claim for conspiracy to commit fraud, a plaintiff must

show “(1) a conspiracy; (2) an overt act of fraud in furtherance of the conspiracy; and (3)

damages to the plaintiff as a result of the fraud. Omnicare, Inc. v. UnitedHealth Group,

Inc., 594 F. Supp. 2d 945, 979-980 (N.D. Ill. 2009) (quoting Bosak v. McDonough, 192 Ill.

App. 3d 799, 803 (1st Dist. 1989) (emphasis added). Thus, to properly state a valid

conspiracy to defraud claim, plaintiffs must allege facts establishing the elements of

fraud under Illinois law. In the absence of fraud, plaintiffs cannot show any injury


                                                14	  
	  
       Case 15-00614    Doc 52   Filed 11/02/15 Entered 11/02/15 10:14:25        Desc Main
                                 Document      Page 15 of 19


caused by the fraud and there can be no conspiracy to commit fraud. Id. citing Damato v.

Merrill Lynch, Pierce, Fenner & Smith, Inc., 878 F. Supp. 1156, 1162 (N.D. Ill. 1995).

           The alleged basis for the Trustee’s conspiracy claims against Mr. Gereg, BWC,

and Barsanti appear to be its fraudulent transfer claims against these defendants.

Because the Trustee has failed to allege facts sufficient to state a cause of action against

these defendants for fraudulent transfer, its claims of conspiracy against these

defendants must fail as well. Id.

           E. Count XVI Should be Dismissed Because There can be no Aiding and
              Abetting a Fraudulent Transfer Where There is no Fraudulent Transfer.

           To state a claim for aiding and abetting, one must allege that: (1) the party whom

the defendant aids performed a wrongful act causing an injury; (2) the defendant was

aware of his role when he provided the assistance; and (3) the defendant knowingly and

substantially assisted the violation. Settlers’ Hous. Serv. v. Schaumburg Bank & Trust Co,

N.A. (In re Settlers’ Hous. Serv.), 514 B.R. 258, 278 (Bankr. N.D. Ill 2014) citing Thornwood,

Inc. v. Jenner & Block, 344 Ill. App. 3d 15, 27-28 (Ill. App. Ct. 2003). In other words, aiding

and abetting is a theory for holding the person who aids and abets liable for the

underlying tort itself. Hefferman v. Bass, 467 F.3d 596, 601 (7th Cir. 2006). Thus, if there

is no underlying tort, then one cannot be said to have aided and abetted the tort. As

articulated in the case of Abrams v. McGuireWoods, LLP, which dealt with aiding and

abetting a breach of fiduciary duty: “If [Plaintiff] can’t plausibly allege that the

underlying breach of fiduciary duty occurred, they cannot state an aiding and abetting

claim against [Defendant]. In other words, if there wasn’t a breach of a fiduciary duty to

begin with, then there wasn’t anything for [Defendants] to assist.” 518 B.R. 491, 500

(N.D. Ind. 2014).




                                               15	  
	  
       Case 15-00614   Doc 52   Filed 11/02/15 Entered 11/02/15 10:14:25        Desc Main
                                Document      Page 16 of 19


           Similarly, here, Mr. Gereg, BWC, and Barsanti have successfully advanced the

theory that the Trustee has failed to allege a cause of action for fraudulent transfer

against them; accordingly, the aiding and abetting claims simultaneously fail.



           F. Counts XIX and XX Should Be Dismissed Because “Injunction” Is Not A
              Separate Cause of Action.

           Curiously, the Trustee has included Counts XIX and XX for “Injunction” against

BWC and Barsanti, respectively. An injunction, however, is a remedy rather than a

cause of action and should be appropriately dismissed. See Independents Gas & Serv.

Stations Ass'ns v. City of Chicago, 2015 U.S. Dist. LEXIS 85348 (N.D. Ill. June 29, 2015). See

also Noah v. Enesco Corp., 911 F. Supp. 305, 307 (N.D. Ill. 1995).


           G. XXI and XXII Should Be Dismissed Because There is No Fraudulent
           Transfer.


           Count XXI is a claim for Equitable Subordination against Mr. Gereg, Barsanti,

and BWC. In the Seventh Circuit, a bankruptcy court must find three conditions before

it may equitably subordinate a claim: (1) the claimant must have engaged in some type

of inequitable conduct; (2) the misconduct must result in injury to the creditors of the

bankrupt or confer an unfair advantage on the claimant; and (3) equitable

subordination must not be inconsistent with the provisions of the bankruptcy code. In re

Lifschultz Fast Freight, 132 F.3d 339, 344 (7th Cir. 1977).

           The following types of conduct are considered "inequitable" in an equitable

subordination context: (1) fraud, illegality or breach of fiduciary duty; (2)

undercapitalization; or (3) the claimant's use of the debtor as an alter ego. In re

Lifschultz Fast Freight, 132 F.3d 339, 345 (7th Cir. 1997). Here, although quite difficult

to ascertain from the vague pleading, the Trustee appears to be suggesting that

                                               16	  
	  
                Case 15-00614                                                                                                                                                Doc 52                                                                 Filed 11/02/15 Entered 11/02/15 10:14:25   Desc Main
                                                                                                                                                                                                                                                    Document      Page 17 of 19


equitable subordination is proper here against Mr. Gereg, BWC, and Barsanti due to the

alleged fraudulent conduct (the fraudulent transfers) and/or Mr. Gereg’s alleged breach

of fiduciary duty.                                                                                                                                                                          However, because the Trustee has failed to state a claim for

fraudulent transfer or breach of fiduciary duty, see supra, his claims for equitable

subordination lack merit.

                                                           Moreover, for a court to equitably subordinate an inside creditor's claim, “the

creditor-insider must actually use its power or control to its own advantage or to other

creditors' detriment.” In re Mr. R's Prepared Foods, Inc., 251 B.R. 24, 29 (Bankr. D. Conn.

2000) (citing In re Fabricators, Inc., 926 F.2d 1458, 1467 (5th Cir. 1991)). The allegations

here do not indicate in any fashion that Mr. Gereg, BWC, or Barsanti had any type of

particular “power” or “influence” over the Debtor, nor do the facts as alleged suggest

that any of these defendants used that power to gain some type of advantage over the

Debtor to the creditors’ detriment. The pleading simply lacks a factual basis to sustain

this cause of action.

                                                           Finally, Count XXII is a Count for “Avoidance of Liens” against BWC. The basis

for the Trustee’s avoidance claims is that BWC engaged in a fraudulent transfer of the

Debtor’s assets.                                                                                                                             4
                                                                                                                                                                     As set forth above, however, BWC acquired the Bank’s security

interest over all the assets of the Debtor, see infra. Accordingly, there is simply no basis

in fact or law to avoid its liens, and Count XXII should be dismissed as a result.

                                                           IV. Conclusion

                                                           WHEREFORE, for all of these reasons, Mr. Gereg, BWC, and Barsanti urge

dismissal of I, II, III, IV, V, VI, X, XI, XV, XVI, IX, X, XXI, and XXII of Eugene Crane’s


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
4
 Count XXII is the definition of “shotgun pleading” as it incorporates wholesale the entire 359 paragraphs
prior to the Count, so it is not clear what exactly the Trustee believes entitles him to avoid the liens. That
said, BWC engaged in no wrongful conduct here, so avoidance is improper.

                                                                                                                                                                                                                                                                17	  
	  
       Case 15-00614   Doc 52   Filed 11/02/15 Entered 11/02/15 10:14:25       Desc Main
                                Document      Page 18 of 19


(the “Trustee”) Adversary Complaint, and any other relief this Court deems just and

proper.

                                                     Respectfully Submitted,

                                                     Vivek Jayaram, attorney for Robert
                                                     Gereg, BWC Capital, LLC, and Barsanti
                                                     Millwork, LLC

                                                     /s/ Vivek Jayaram___________________
                                                     One of Their Attorneys




                                            18	  
	  
       Case 15-00614   Doc 52   Filed 11/02/15 Entered 11/02/15 10:14:25     Desc Main
                                Document      Page 19 of 19


                                CERTIFICATE OF SERVICE

       I, Vivek Jayaram, an attorney, being duly sworn on oath depose and state that I
caused ROBERT GEREG, BWC CAPITAL, LLC, AND BARSANTI MILLWORK,
LLC’S MOTION TO DISMISS THE TRUSTEE’S ADVERSARY COMPLAINT, to be
served by the ECF System of the United States Bankruptcy Court for the Northern
District of Illinois on all counsel of record before the hour of 5:00 p.m. on November 2,
2015.



                                                       s/Vivek Jayaram



           Vivek Jayaram
           Jayaram Law Group, Ltd.
           33 North LaSalle Street
           29 Floor
             th



           Chicago, IL 60602
           (312) 454-2859




                                            19	  
	  
